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                                   EXHIBIT C
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                              Library buildings are closed to the public until further notice, but the U.S.
                                              Copyright Office Catalog is available. More.




  Public Catalog
  Copyright Catalog (1978 to present)
  Search Request: Left Anchored Name = Leibovitz
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                                                           Vanity Fair, 2019.

                Type of Work: Visual Material
  Registration Number / Date: VA0002192380 / 2020-01-16
             Application Title: Vanity Fair, 2019
                         Title: Vanity Fair, 2019. [Group registration of published photographs. 44 photographs.
                                2019-03-01 to 2019-12-01]
                   Description: 44 photographs : Electronic ﬁle (eService)
         Copyright Claimant: Annie Leibovitz, 1949- . Address: 15 Hudson Yards, 76E, New York, NY, 10001,
                                United States.
             Date of Creation: 2019
     Publication Date Range: 2019-03-01 to 2019-12-01
   Nation of First Publication: United States
   Authorship on Application: Annie Leibovitz, 1949- ; Citizenship: United States. Authorship: photographs.
      Rights and Permissions: Trunk Archive, (212) 356-0099
              Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond
                                to the individual photographs included in this group.
                                Regarding group registration: A group of published photographs may be registered
                                on one application with one ﬁling fee only under limited circumstances. ALL of the
                                following are required: 1. All photographs (a) were created by the same author AND
                                (b) are owned by the same copyright claimant AND (c) were published in the same
                                calendar year AND 2. The group contains 750 photographs or less AND 3. A
                                sequentially numbered list of photographs containing the title, ﬁle name and month
                                of publication for each photograph included in the group must be uploaded along
                                with other required application materials. The list must be submitted in an approved
                                document format such as .XLS or .PDF. The ﬁle name for the numbered list must
                                contain the title of the group and the Case Number assigned to the application.
                 Photographs: Published in December 2019 (4 photographs): RuPaul, Culver City, California, 2019,
                                RuPaul, Culver City, California, 2019, RuPaul, Culver City, California, 2019,
                                RuPaul, Culver City, California, 2019,
                                Published in December 2019 (11 photographs): Nancy Pelosi, Washington, D.C.,
https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi?v1=1&ti=1,1&Search_Arg=Leibovitz&Search_Code=NALL&CNT=100&REC=0&RD=0&RC=0&PID=f8bSFIq9…   1/2
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                                       2019, Nancy Pelosi, Washington, D.C., 2019, Steny Hoyer, Ilhan Omar, and Nancy
                                       Pelosi, Washington, D.C., 2019, Nancy Pelosi, Washington, D.C., 2019, Chuck
                                       Schumer, Washington, D.C., 2019, Nancy Pelosi, Washington, D.C., 2019, Members
                                       at a caucus meeting, Washington, D.C., 2019, Nancy Pelosi, Washington, D.C.,
                                       2019, Maxine Waters and Nancy Pelosi, Washington, D.C., 2019, Adam Schiff,
                                       Elijah Cummings, Jerry Nadler, and Nancy Pelosi, Washington, D.C., 2019, Nancy
                                       Pelosi, Washington, D.C., 2019,
                                       Published in March 2019 (1 photographs): Cicely Tyson, New York City, 2018
                                       Published in April 2019 (8 photographs): Beto O’Rourke, El Paso, Texas, 2019, Beto
                                       O’Rourke, El Paso, Texas, 2019, Beto and Henry O’Rourke, El Paso, Texas, 2019,
                                       Beto O’Rourke, outside El Paso, Texas, 2019, Molly, Henry, and Beto O’Rourke, El
                                       Paso, Texas, 2019, Beto O’Rourke, El Paso, Texas, 2019, Beto O’Rourke, Bowie
                                       High School, El Paso, Texas, 2019, Beto and Amy O’Rourke with their children,
                                       Molly, Ulysses and Henry, Franklin Mountains State Park, El Paso, Texas, 2019
                                       Published in June 2019 (17 photographs): Adam Driver, London, 2018, Daisy
                                       Ridley, London, 2019, J. J. Abrams, Wadi Rum, Jordan, 2018, J. J. Abrams, Wadi
                                       Rum, Jordan, 2018, Colin Anderson, Wadi Rum, Jordan, 2018, J. J. Abrams and
                                       Daisy Ridley, Wadi Rum, Jordan, 2018, Joonas Suotamo, Daisey Ridley, Anthony
                                       Daniels, and John Boyega, Wadi Rum, Jordan, 2018, BB-8 and Anthony Daniels,
                                       Wadi Rum, Jordan, 2018, Colin Anderson, Joonas Suotamo, BB-8, and Daisy
                                       Ridley, Wadi Rum, Jordan, 2018, Aki-Aki, Wadi Rum, Jordan, 2018, Adam Driver
                                       and Daisy Ridley, London, 2018, John Boyega and Naomi Ackie, London, 2019,
                                       Oscar Isaac, Billy Dee Williams, Chewbacca, D-O, and BB-8, London, 2018,
                                       Domnhall Gleeson and Richard E. Grant, London, 2018, Keri Russell, London,
                                       2018, John Williams, Culver City, California, 2019, Mark Hamill and R2-D2,
                                       London, 2018,
                                       Published in September 2019 (3 photographs): Ta-Nehisi Coates, New York City,
                                       2019, Ta-Nehisi Coates, Brooklyn, New York, 2019, Ta-Nehisi Coates, New York
                                       City, 2019,
                            Names: Leibovitz, Annie, 1949-




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